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                       Exhibit 29
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  1      1     DISTRICT COURT, COUNTY OF ARAPAHOE
               STATE OF COLORADO
  2      2     7325 South Potomac Street
               Centennial, Colorado 80112
  3      3                                         ^ COURT USE ONLY ^
               ______________________________________________________
  4      4
               RIKKI MCALISTER,                        Case Number 2023CV030960
  5      5     individually and on behalf
               of all others similarly                             Division 204
  6      6     situated,
                     Plaintiff,
  7      7
               vs.
  8      8
               LGI HOMES CORPORATE, LLC,
  9      9     a Texas limited liability
               company; and
 10     10
               KEVIN WOLF, individually,
 11     11           Defendants.
               ______________________________________________________
 12     12
                    REMOTE RULE 30(b)(6) DEPOSITION OF LGI HOMES
 13     13                CORPORATE, LLC, by CONNIE SONIER
                                  October 24, 2023
 14     14     ______________________________________________________
 15     15
 16     16
 17     17
 18     18
 19     19
 20     20
 21     21
 22     22
 23     23
 24     24
 25     25

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  1     3
  2         1                   PURSUANT TO WRITTEN NOTICE and the
  3         2   appropriate rules of civil procedure, the remote
  4         3   Rule 30(b)(6) deposition of LGI Homes Corporate, LLC, by
  5         4   CONNIE SONIER, called for examination by the Plaintiff,
  6         5   was taken with all parties appearing remotely, commencing
  7         6   at 9:36 a.m. on October 24, 2023, before Kimberly Smith,
  8         7   Registered Professional Reporter and Notary Public in and
  9         8   for the State of Colorado.
 10         9
 11     10                                  I N D E X
 12     11      EXAMINATION:                                          PAGE
 13     12      By Mr. Harrison                                          5
 14     13      EXHIBITS:                                             PAGE
 15     14      Exhibit 1      Plaintiff's First Amended Notice         13
                               of Deposition of the Defendant
 16     15                     LGI Homes Corporate, LLC Pursuant
                               to C.R.C.P. 30(b)(6)
 17     16
                Exhibit 2      LinkedIn Resume of Connie Sonier         14
 18     17
                Exhibit 3      Email to Schilling from ExponentHR,      17
 19     18                     5/3/18
 20     19      Exhibit 4      Pay stub for McAlister, with             38
                               attachments
 21     20
                Exhibit 5      Pay stub for McAlister, with             38
 22     21                     attachments
 23     22      Exhibit 6      Additional LGI Policies, with            54
                               attachment
 24     23
 25     24      Exhibit 7      Excerpt from LGI Homes Employee          57
                               Handbook

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  1     4
  2
            1   Exhibit 8    Department of Labor and Employment       60
  3                          Colorado Minimum Wage Order Number
            2                35
  4
            3   Exhibit 9    Department of Labor and Employment       60
  5                          Colorado Overtime and Minimum Pay
            4                Standards Order (Comps Order) #38
  6
            5   Exhibit 10   Letter To Whom It May Concern            66
  7                          from McAlister, 4/2/23, with
            6                attachments
  8
            7   Exhibit 11   LGI Homes, Inc. Performance Based        68
  9                          Job Description, New Home
            8                Consultant
 10
            9   Exhibit 12   Excel Spreadsheet                        72
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 14                          with attachments
        13
 15             Exhibit 16   3rd Quarter 2020 Commission Detail,      82
        14                   Rikki McAlister
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  April 3, 2023



  To Whom It May Concern:

  As you are probably aware, Iworked for LGI from January 2016 until February of this year.
  During that time, Iworked ahuge number of overtime hours, and was not provided with paid
  rest breaks that are required under Colorado law. During just the past three years, Iworked
  through 3,080 ten-minute periods that should have been paid breaks and worked atotal of
  6,616.32 hours of overtime. In addition, LGI deducted $102,000.00 from my wages for "draw"
  paid in previous periods, despite the fact that there was no written agreement permitting such
  deductions. During my many years of working for LGI, Iobserved that other employees also
  worked unpaid overtime and without rest breaks.

  Iam writing to request that you immediately pay the following wages and compensation that are
  due to me under Colorado law, and that you pay the other LGI employees who worked so many
  hours without breaks and were subject to deductions the wages that are due to them as well:

  Unpaid wages, including for missed rest breaks and overtime: $135,469.00
  Reimbursement for unlawful deductions: $102,000.00

  Total wages and compensation due: $237,469.00

  You may pay this amount by direct depositing my wages and compensation using the bank
  information you currently have on file within 14 days of receiving this letter.

  Thank you for your time and attention,

  Sincerely,

  Rikki McAlister




                                                                                       Exhibit
                                                                                        0010


                                                                                MCALISTER_BatesO152
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            1450 Lake Robbins Drive, Suite 430


ffil
           The Woodlands, D( 77380
           Tel: 281.3628998
           Fax: 281.210.2601
HO MES     lgihomes.com




     April 21, 2023



     Rikki McAlister

     963 W. 100th pl
                   .



     Northglenn, Co 80260



     Dear Rikki:

     This Letter is in response to your correspondence dated, April 3, 2023, concerning your request
     for unpaid compensation. In your Offer Letter, dated December 2, 2015 ('Offer Letter"), LGI
     Homes offered you the position of New Home Consultant ("NHC"). The NHC job is an outside
     sales position. As such, under the federal Fair Labor Standards Act ("FLSA") and the Colorado
     Overtime & Minimum Pay Standards Order No. 38 ("COMPS Order"), outside sales positions are
     exempt from overtime and rest break requirements. In other words, as an outside salesperson,
     LGI Homes was not required to pay you for overtime or rest breaks, because the NHC position is
     exempt from these requirements.

     With respect to your Recoverable Draw, you are correct that Colorado law requires that the
     employer and employee enter into a written agreement signed by both parties to authorize a
     payroll deduction. Your Offer Letter states in part,

            After the training pay ends you will transfer to a Recoverable Draw of $1,384.62
            per pay period ($9,000.00 per quarter) compared against commissions earned on
            aquarterly basis. The maximum deficit allowed is $12,000.00. If you exceed the
            $12,000.00 maximum deficit, you no longer receive the recoverable draw but you
            will be paid on the first 2units closed each month. All units closed above the first
            2will reduce your draw deficit. Any bonus will go towards deficit.

     See Offer Letter, dated December 2, 2015, attached.

     You signed the Offer Letter on December 5, 2015, and so did Chris Kelly, the Division
     President. This constitutes a written agreement under Colorado law. Specifically, you
     accepted the terms of compensation set forth in the Offer Letter authorizing the
     Recoverable Draw. Thus, you and LGI Homes agreed to a deduction from your pay for
     the Recoverable Draw.

     Finally, at the time of your resignation, you were fully paid for all earned, vested and
     determinable compensation from LGI Homes. Please contact me if you have any
     questions.



     Sincerely,




                                                                                     MCALISTER_BatesO153
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 December 2. 2015

 Rikki McAlister
 963W. lOok P1.
 l4orthgtenn, CO 80260
 303-523-6826

 Dear Rikki.

 We are pleased Ia offer you the position of New Home Consultant 01 Bella Vista

 Start Dote: January 4.2016

 Mandatory Training at the Corporate Office in The Woodlands, TX: January 4-            7" and January 16 1h 2P'.
                                                                                        -

                                                                                                         -




           'If you are traveling in from outside at Hauslan, travel arrangements will be made for you to arrive January 3J and January l5b.

 As a New Home Consultant, your compensation will be comprised of several components:

      1.      Training pay for your first 100 days totaling $9,890.11 (equivalent to $36,000 a year) paid biweekly
      2.      Alter the training pay ends you will transfer to a Recoverable Draw at $1,384.62 per pay period ($9,000.00 per quarter) compered against
              conynissions earned on a quarterly basis, The maximum deficit allowed is $12,003.00, If you exceed the $12,000.00 maximum deficit, you
              no longer receive the recoverable draw but you will be paid on the first 2 units closed each month. All units closed above the first 2will
              reduce your draw deficit. Any bonus wilt go towards deficit.

      3.      Commission structure paid on all closed sales within a calendar year.


                    Commission %                        2.5%                           2.0%

                      Sates Price                   $04499900


      4.      Bonus structure paid at each level of units closed within acalendar year.
                          Units Closed                       Bonus
                              20 Units                      5,000.00
                              25 Units                    $10,003.00
                              30 Units                    $15,000.00
                             35 Units                     $17,500.00
                              40 Units                    $20,000.00
                              45 Units                    $22,500.00
                              50 Units                    $25,000.00
                              60 Units                    $30,000.00

              Example: 25 ctased units will be paid a total at $15,000.00 in bonuses
                       40 closed units wil/ be paid a to/al of $67,500.00 in bonuses
                       60 closed units will be paid a total of 145.000,00 in bonuses

      5.      Eligible for 2017 Circle at Excellence trip it you close 20 units by December 31, 2016
      6.      Eligible for $2,000 one week vacation bonus alter one full year of employment
      7.      50% campony-paid medical coverage for you and your family
      8.      Dollar-for-datlar 401k match up to 3%, with a maximum at $3,000 per year
      9.      Compony'paid life insurance, short-term disabfiily,and long-term disability

 As a New Home Consultant you will be required to sign a non-compete and comply with our automobile insurance requirements: please contact
 Connie Sonier. our Director at Human Resources, at csonier 9 oihowescam it you would like to receive more information on these requirements prior
 Ia the training class. In addition, while in Texas for tiaining, you will be required to share a hotel room with another new hire employee of the some
 gender.



 By accepting this offer, you recognize that your employment is at will and this will be your compensation as long as you are employed unless revised
 by LOt.

 Sincerely,                                                                   Your Acceptance



                                                                                                                                    '    54
 Chits K                                                                      Rikki MAister                                 Date
 Division)P es. ent



 1450 Lake Robbins Drive Suite 430 the Woodlands, TX 77360                                                                                    281'362'8998




                                                                                                                               MCALISTER_Bates0154
